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1
2    Lenore L. Albert, Esq. SBN 210876
     LAW OFFICES OF LENORE ALBERT
3    7755 Center Avenue, Suite #1100
4    Huntington Beach, CA 92647
     Telephone (714) 372-2264
5
     Facsimile (419) 831-3376
6    Email: lenorealbert@msn.com
7
     Attorney for Plaintiff, Jason Hartman
8
9
                             UNITED STATES DISTRICT COURT
10
                            CENTRAL DISTRICT OF CALIFORNIA
11
12   JASON HARTMAN, an individual,            CASE NO.

13         Plaintiffs,
     vs.
14
                                              COMPLAINT
15   DON FULLMAN, an individual; PIP             1. Breach of Settlement Agreement
16   EAST, LLC d/b/a the PIP GROUP f/k/a
     PIP WEST, LLC, a business entity form       2. Fraud/Deceit
17   unknown; LENA SELLS, an individual;         3. False Promise
18   CHARLES SELLS, an individual; and
                                                 4. Conversion
     DOES 1-50, inclusive,
19                                               5. Breach of Fiduciary Duty
20          Defendants.                          6. UCL 17200 Violation
21                                               7. UCL 17500 Violation
22                                               8. RICO
23                                                   [Jury Demanded]
24
25
26         1. This is a breach of Settlement Agreement in Georgia state Case no.
27   2014CV255485 (related 2017CV294502) and an “Investor Stacking” Ponzi scheme case
28
     wherein real estate investors, Plaintiff, Jason Hartman and those similarly situated

                                                1
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1    (hereinafter referred to as “Plaintiffs” or “Plaintiff”) allege eight (8) causes of action
2    against Defendants, PIP East, LLC d/b/a the PIP Group f/k/a PIP West, LLC, Lena Sells,
3    Charles Sells and Does 1 through 50, inclusive (collectively referred to as “Defendant”
4
     or “Defendants”).
5
             2. This court has jurisdiction based on federal question pursuant to 28 U.S.C. §
6
     1331 and RICO statutory scheme (18 U.S.C. § 1961 et seq); it also has jurisdiction based
7
     on diversity of citizenship pursuant to 28 U.S.C. § 1332 because the Plaintiff is a citizen
8
     of California, the Defendants are a citizen of a different state, and the amount in
9
     controversy exceeds $75,000.00.
10
                                              The Parties
11
             3. Plaintiff Jason Hartman is an individual residing in Nevada who signed the
12
13   Settlement Agreement with Defendant PIP East, LLC on or about March 2, 2017. He

14   invested in approximately 207 different tax liens from Defendant while he was residing
15   in California. (See, Exhibit 1)
16           4. Defendant Donald Fullman is an individual residing in Orange County,
17   California. He was a manager, sponsor, co-owner, executive, and/or officer of PIP West,
18   LLC who signed the original contract on behalf of PIP West, LLC when the underlying
19   investment contract with Plaintiff was entered into in California in 2006.
20           5. Defendant PIP East, LLC d/b/a the PIP Group and f/k/a PIP West, LLC
21   (hereinafter “PIP” or “PIP East, LLC”) is a business organization, that represents it is
22
     now in the state of South Carolina and does business in California. It has over 700 tax
23
     lien investors it services according to its website: www.PIPGroup.com. PIP East, LLC
24
     entered into a Settlement Agreement with Plaintiffs in this action on or about March 2,
25
     2017.
26
             6. PIP West, LLC was the business organization located in Orange County,
27
     California that Plaintiffs entered into the original agreement for the tax lien investments.
28
     PIP West, LLC merged into PIP East, LLC on or about January 1, 2016. (See, Exhibit 2)

                                                 2
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1          7. Defendant Lena Sells is allegedly a resident of South Carolina at all times
2    mentioned in this Complaint. Plaintiff is informed and believes and alleges thereon that
3    Lena Sells, at all times mentioned in this Complaint, was an executive officer of PIP
4
     East, LLC and had the authority to legally bind the corporation.
5
           8. Defendant Charles Sells is currently a resident of South Carolina. Plaintiff is
6
     informed and believes and alleges thereon that Charles Sells was the Executive Manager
7
     of PIP East, LLC and PIP West, LLC and had the authority to legally bind the
8
     corporation. Plaintiff is informed and believes and alleges thereon that Charles Sells was
9
     operating PIP-West, LLC out of Laguna Niguel, California and acts of mail fraud were
10
     generated from this location.
11
12         9. Catherine A. Trogg is a third party employed by Charles Sells, PIP West,

13   LLC, PIP East, LLC and the PIP Group at all times mentioned in this complaint. Plaintiff
14   is informed and believes and alleges thereon that Ms. Trogg was acting in the course and
15   scope of her employment with Defendants at all times mentioned herein and the
16   Defendants, and each of them, instructed, directed or requested Ms. Trogg to so act or
17   fail to act; or the Defendants and each of them, consented, permitted, knew, acquiesced
18   in, adopted, acted in concert, aided and abetted, or acquiesced and ratified in Ms. Trogg’s
19   conduct. Ms. Trogg was a registered Notary Public in S. Carolina from 2015 through the
20   present.
21
           10. Platinum Properties Investor Network, Inc. (hereinafter “PPIN”) is a business
22
     organization located in Orange County, California that was also sued by PIP East, LLC
23
     and entered into a Settlement Agreement with Defendant PIP East, LLC on or about
24
     March 2, 2017. Plaintiff is the sole shareholder.
25
           11. The true names of Defendants sued as Does are unknown to Plaintiff.
26
                    a. Doe Defendants 1 through 10 were the alter ego, representatives, agents
27
                    and/or employees of other named Defendants and acted within the scope of
28
                    that agency of employment.
                                                 3
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1                 b. Doe Defendants 11 through 50 are persons whose capacities are
2                 unknown to Plaintiff.
3          12.    At all times herein mentioned, Defendants, and each of them, were an
4
     owner, a co-owner, an agent, representative, partner, and/or alter ego of its co-
5
     Defendants, or otherwise acting on behalf of each and every remaining Defendant and, in
6
     doing the things hereinafter alleged, were acting within the course and scope of their
7
     authority as an owner, a co-owner, agent, representative, partner, and/or alter ego of its
8
     co-Defendants, with the full knowledge, permission and consent of each and every
9
     remaining Defendant, each co-Defendant having ratified the acts of the other co-
10
     Defendants
11
12         13. Plaintiff is informed and believes and, upon such information and belief,

13   alleges that each of the Defendants named herein as Does 1 through 50, inclusive, were
14   and are in some manner responsible for the actions, acts and omissions herein alleged,
15   and for the damage caused by the Defendants, and are, therefore, jointly and severally
16   liable for the damages caused to Plaintiff.
17         14. Plaintiff is informed and believes and, upon such information and belief,
18   alleges that each of the Defendants including Does 1 through 50, inclusive, were, at all
19   times herein mentioned, acting in concert with, and in conspiracy with, each and every
20   one of the remaining Defendants.
21
           15.    Wherever appearing in this Complaint, each and every reference to
22
     Defendants or to any of them, is intended to be and shall be a reference to all Defendants
23
     hereto, and to each of them, named and unnamed, including all fictitiously named
24
     Defendants, unless said reference is otherwise specifically qualified.
25
           16. Plaintiff alleges that Defendants Charles Sells, Lena Sells and Does 1 through
26
     10 were members, subscribers of shares, shareholders or promoters of Defendant PIP
27
     East, LLC. There exists at all times mentioned herein a unity of interest between
28
     Defendants Charles Sells, Lena Sells, Does 1 through 10, and Corporate Defendant PIP
                                                4
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1    East, LLC such that any individuality and separateness between Defendants Charles
2    Sells, Lena Sells and Does 1 through 10, as shareholders and PIP East, LLC as the
3    Corporate Defendant have ceased and Corporate Defendant PIP East, LLC is the alter
4
     ego of Defendant Charles Sells, Lena Sells and Does 1 through 10 as follows:
5
                 a.    Plaintiff is informed and believes and alleges thereon that PIP East,
6
                 LLC was a mere shell and sham without adequate capital assets, used by
7
                 Charles Sells, Lena Sells and Does 1 through 10 as a device to avoid
8
                 individual liability and for the purpose of substituting an insolvent
9
                 corporation in the place of Defendants Charles Sells, Lena Sells and Does 1
10
                 through 10.
11
12               b.    Corporate Defendant, PIP East, LLC is and was at all times

13               mentioned herein, so inadequately capitalized that, in comparison to the
14               business to be done by Corporate Defendant PIP East, LLC and the risks of
15               loss attendant thereto, its capitalization was illusory or trifling.
16               c.    Defendants Lena Sells and Charles Sells used Corporate Defendant
17               PIP East, LLC’s assets for their own personal use, caused assets of
18               Corporate Defendant PIP East, LLC to be transferred to them without
19               adequate consideration and withdrew funds from the Corporate Defendant’s
20               bank accounts for their personal use, leaving insufficient funds in the
21
                 account to pay corporate debts, including but not limited to those debts with
22
                 checks already drawn.
23
                 d.    Lena Sells and Charles Sells failed to follow corporate formalities in
24
                 that the activities and the business of Corporate Defendant PIP East, LLC
25
                 were carried out without the holding of shareholder meetings or approval of
26
                 the board of directors.
27
                 e.    Plaintiff alleges that adherence to the fiction of the separate existence
28
                 of Corporate Defendant PIP East, LLC as an entity distinct from shareholder
                                                5
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1                 Defendants Charles Sells, Lena Sells and Does 1 through 10 would permit
2                 abuse of the corporate privilege and would sanction fraud in that Defendants
3                 have withdrawn funds from the Corporate Defendant PIP East, LLC and
4
                  distributed said funds without any consideration to Corporate Defendant PIP
5
                  East, LLC all for the purpose of avoiding and preventing attachment and
6
                  execution by creditors, including Plaintiff, thereby rendering Corporate
7
                  Defendant PIP East, LLC insolvent and unable to pay its obligations.
8
                  f.     As a result of the acts and omissions complained of herein,
9
                  Defendants Don Fullman, Lena Sells, Charles Sells and Does 1 through 10
10
                  are jointly and severally liable for all relief sought herein against Corporate
11
12                Defendant PIP East, LLC by Plaintiff.

13                                       Background Facts
14         17. PIP is a promoter of service industry programs promising to purchase and
15   manage tax lien investments for investors. Charles Sells represented they were experts in
16   tax lien investments and would fully manage all parts of the investment.
17         18. By way of background, in or about September 5, 2006, Defendant Don
18   Fullman on behalf of PIP West, LLC entered into a written contract in California with
19   Plaintiff representing PIP West, LLC would find, sell and manage quality tax lien
20   investments to and for Plaintiff. (Exhibit 2)
21
           19. Plaintiff signed a written agreement with PIP West, LLC and gave PIP West,
22
     LLC approximately $15,000.00 to initially invest on or about September 5, 2006.
23
           20. PIP West, LLC represented it would act as Plaintiff’s agent and would perform
24
     all “research,” do the “bidding,” “select[] and acquire” the tax liens and make sure the
25
     liens were “recorded in the name of Principal” for a monthly management fee Plaintiff
26
     paid to PIP West, LLC.
27
           21. By December 31, 2009 Plaintiff had invested approximately $169,560.24 with
28
     PIP West, LLC wherein he was required to obtain cashier’s checks from the bank and
                                                6
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1    mail them from California to Defendant’s agents in Illinois. PIP West, LLC represented
2    that it had purchased 207 tax liens for Plaintiff of which 130 had been redeemed.
3            22. Defendant Don Fullman and/or Charles Sells selected ten (10) real estate
4
     investment tax liens and advised Plaintiff to foreclose on them in 2010. Defendant
5
     charged Plaintiff an additional $17,000.00 to do so, with $7,000.00 paid to PIP West,
6
     LLC and $10,000.00 to James & Associates Law Office.
7
             23. Relying on Don Fullman and Charles Sells’ expertise and advice as his agent,
8
     on or about June 28, 2010 Plaintiff paid $7,000.00 to PIP West, LLC and mailed a
9
     $10,000.00 check to James & Associates Law Office after executing the agreement to
10
     foreclose on the ten (10) properties secured by the real estate investment liens that
11
12   Charles Sells and PIP West, LLC represent it purchased with Plaintiff’s investment more

13   particularly described as:
14              a.     14-16-209-004            2006-00131                    Ogle*;
15              b.     18-07-382-013            200601626                     Peoria;
16              c.     18-07-478-008            200601646                     Peoria;
17              d.     18-07-479-009            200601648                     Peoria;
18              e.     18-18-181-001            200601924                     Peoria;
19              f.     18-18-408-006            200602077                     Peoria;
20              g.     14-23.0-303-017          Book127Page372Line3           Sangamon;
21
                h.     14-26.0-131-030          Book127Page381Line3           Sangamon*;
22
                i.     23-07-202-007-0040       60436                         Vermillion; and
23
                j.     23-10-306-004-0040       60457                         Vermillion. 1
24
                     (See, Exhibit 3)
25
26
27
     1
28       Parcel Identification Number, Tax Certificate Lien Number, and County (* indicates
     that the property was redeemed).
                                                   7
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1          24. PIP West, LLC, Don Fullman and Charles Sells represented to Plaintiff that
2    the properties went into foreclosure. Thereafter no one from PIP West, LLC would
3    communicate with Plaintiff when he asked for a status update.
4
           25. When Plaintiff started to complain about PIP West, LLC and Charles Sells,
5
     PIP West, LLC sued Plaintiff and Platinum Properties Investor Network, Inc. (“PPIN”)
6
     on December 31, 2014 in state court in Georgia (“PIP I” 2014CV255485) although no
7
     party was a resident of Georgia and the contract was signed at PIP West, LLC in Orange
8
     County, California. (See Exhibit 2 for original contract)
9
           26. During the PIP I lawsuit, PIP West, LLC merged with PIP East, LLC on
10
     January 1, 2016 and PIP East, LLC was substituted in the place of PIP West, LLC as the
11
12   Plaintiff in the Georgia lawsuit.

13         27. The parties entered into a Settlement Agreement on March 2, 2017 and
14   dismissed the action.
15         28. On March 2, 2017 PIP East, LLC represented in writing it would delete certain
16   statements it posted about Plaintiff on the internet and that it would title the real estate
17   tax liens and/or property back in Plaintiff’s name. A true and correct copy of the
18   Settlement Agreement is attached hereto as Exhibit 1 and its material terms are
19   incorporated herein.
20         29. PIP East, LLC, Lena Sells, Charles Sells and Defendant Does 1 through 50
21
     have breached the Settlement Agreement.
22
           30. Plaintiff demanded performance but Defendants, and each of them, have
23
     refused and failed to perform so Plaintiff has sued.
24
                                          The Ponzi Scheme
25
           31. Plaintiffs are informed and believe and allege thereon that Defendants were
26
     investor stacking to increase profits. Investor stacking is the process of signing up
27
     customers to join an investment scheme for a modest management fee while representing
28
     that as an agent, the management company (PIP) would handle everything from selecting
                                                 8
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1    and purchasing the tax liens to purchase and put in the investor’s portfolio to filing all
2    proper paperwork if the investor chose to foreclose on the lien after the redemption in the
3    instance that a tax lien is not redeemed. In order for this process to work properly, an
4
     investor would have to determine on an annual basis whether or not to pay the taxes for
5
     the following year. If the tax investor did not pay the taxes for the following year, then
6
     another tax lien would be auctioned off and another investor could purchase that tax lien
7
     thereby automatically increasing the risk to the prior investor of a loss in investment
8
     value. This material risk in tax lien investments was never fully and fairly disclosed to
9
     the investors of PIP and as such, it resulted in allowing PIP to stack investors on the
10
     same property during the redemption period of the prior investor. Although normally the
11
12   stacking would mean two (2) investors on one property giving PIP double profits for

13   management, in theory PIP could obtain up to 3 different investors on a single property
14   due to an extension and with an additional extension it could go up to 4 investors.
15   Plaintiff is informed and believes and alleges thereon this gave incentive to PIP to allow
16   the tax liens to expire instead of having the proper paperwork filed in order to foreclose
17   and obtain a tax deed on stacked investments. This also allowed PIP to foreclose and take
18   properties in its own name on the tax deed which it could then flip, cutting out the
19   investor. This also gave PIP no incentive to actually “research” and “investigate” the
20   quality of the tax lien before bidding on it at auction. Investigation and discovery is
21
     continuing but scenarios like these can be seen taking place in the ten (10) tax liens
22
     mentioned herein. Properties with tax lien auctions are finite in number. Instead of
23
     creating a business model taking into account the true cost of purchasing and properly
24
     managing tax liens for an investor, PIP took a shortcut to profits by investor stacking and
25
     then making online information advertising to obfuscate its true business model. By
26
     targeting the real estate investors like Plaintiffs that are accustomed to thinking of one
27
     property and lien position in time property recording rules, it was an easy Ponzi scheme
28


                                                9
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1    to conceal. Plaintiffs are still investigating and discovering the extent of this Ponzi
2    scheme and reserve the right to amend as more facts become available.
3          32. Additionally, Plaintiff is informed and believes and alleges thereon that
4
     Defendants did not immediately assign the tax liens to the investors so that the investors
5
     could have full control as advertised by Defendants.
6
           33. All causes of action or claims therein are pled in the alternative to the extent
7
     the facts are inconsistent as to whether or not any of the tax liens or tax deeds actually
8
     existed during any material time mentioned throughout this complaint on the grounds
9
     discovery and investigation is still ongoing.
10
           34. All allegations of facts within the knowledge of the Defendants are pled on
11
12   information and belief and this phrase is incorporated in each cause of action below.

13                                        Causes of Action
14                                FIRST CAUSE OF ACTION
                                        (Breach of Contract)
15
      (Jason Hartman against Defendants PIP East, LLC, Lena Sells, Charles Sells, and
16                                            Does 1-50)
17
           35. Plaintiff incorporates the allegations in paragraphs 1 through 34 above as

18   though they are fully set forth herein.

19         36. On March 2, 2017 Defendants Lena Sells and/or Charles Sells executed a
20   written Settlement Agreement on behalf of Defendant PIP East, LLC who voluntarily
21   and intentionally stepped into the shoes of PIP West, LLC to act on its behalf.
22         37. There were two material terms contained in the Settlement Agreement: (1) PIP
23   would take down defamatory content about Plaintiff on the internet; and (2) PIP would
24   give all tax liens that were not redeemed back to Plaintiff. A true and correct copy of the
25   contract is attached hereto as Exhibit 1. The terms of the contract are incorporated herein
26   by this reference.
27
28


                                               10
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1          38. Defendants, and each of them promised to “execute and deliver all such
2    documents and do all such other acts and things as may be necessary to fully effectuate
3    this Agreement and the matters contemplated thereby.”
4
           39. Within four years of the filing of this action, Defendants breached the contract
5
     by failing to uphold the covenants regarding timely performance of:
6
               a.    Taking down “The Truth About Jason Hartman” posting on PIP West
7
                    Twitter and PIP West Google Plus account dated June 2, 2015;
8
               b.    Returning all tax liens/tax deeds that were not redeemed to Plaintiff;
9
           40. Plaintiffs have performed as required pursuant to the contract and law to
10
     entitle them to bring this action.
11
12         41. Plaintiffs have made demand on Defendants for performance, but Defendants

13   have refused to perform. Plaintiff has been damaged by Defendants' breach and failure to
14   perform. Plaintiff is informed and believes and alleges thereon that the failure to perform
15   has resulted in approximately $130,000.00 in damages plus costs and attorney fees.
16                               SECOND CAUSE OF ACTION
17
                                           (Fraud/Deceit)
      (Jason Hartman against Defendants PIP East, LLC, Lena Sells, Charles Sells and
18                                            Does 1-50)
19         42. Plaintiff incorporates the allegations in paragraphs 1 through 41 above and the
20   exemplary damages section below, as though they are fully set forth herein.
21         43. From on or about September 5, 2006 through June 28, 2010 Plaintiffs
22   purchased 207 real estate tax lien investments from Defendant PIP West, LLC, ten (10)
23   of which Plaintiff authorized foreclosure of on June 28, 2010 as more particularly
24   described in paragraph 18 of this complaint.
25         44. Plaintiffs were not experts in real estate tax lien investments and the properties
26   that PIP West, LLC selected for Plaintiffs were located in states like Illinois, a state
27
     Plaintiffs did not reside.
28


                                                  11
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1            45. When Plaintiffs invested approximately $169,560.24 as of 12/31/09 with
2    Defendants, Defendant Charles Sells represented, as an agent of PIP West, LLC, that PIP
3    Group which included PIP West, LLC and PIP East, LLC were experts with tax lien
4
     investments and would manage all aspects of the tax liens including any potential
5
     foreclosure action for an additional $17,000.00 for ten properties.
6
             46. Plaintiffs paid PIP West, LLC and its designated attorneys $17,000.00 to
7
     manage the foreclosures on ten of the investment properties.
8
             47. This later led to litigation which Defendants filed in Georgia and resulted in
9
     the Settlement Agreement between the parties on March 2, 2017 which is the subject
10
     matter of the dispute at issue in this case.
11
12           48. As part of the Settlement Agreement, Defendants Lena Sells and/or Charles

13   Sells2 on behalf of PIP East, LLC represented that Defendants would “execute and
14   deliver all such documents and do all such other acts and things as may be necessary to
15   fully effectuate this Agreement and the matters contemplated thereby.” When PIP East,
16   LLC and the signer which was either Charles Sells or Lena Sells, made those
17   representations, those representations were made on behalf of PIP East, LLC, PIP West,
18   LLC, Charles Sells and Lena Sells, and Does 1 through 50. The terms of the Settlement
19   Agreement are incorporated herein by this reference. (Exhibit 1)
20           49. The two representations were basically that (1) Defendants would delete all
21
     references to internet postings it made about Plaintiff; and (2) it would return all tax
22
     liens/tax deeds that were not redeemed back to Plaintiffs. It was implied that the tax
23
     liens/deeds still existed and had some value.
24
             50. Lena Sells and/or Charles Sells’ representations were false.
25
             51. Lena Sells and/or Charles Sells knew that the representation made on March 2,
26
     2017 was false when they made it, or that they made the representation recklessly and
27
28
     2
         The signature for PIP East, LLC on the Settlement Agreement is not legible.
                                                12
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1    without regard for its truth. Plaintiffs are informed and believe and allege thereon that
2    Defendants knew they were not going give back all tax liens/tax deeds Plaintiff
3    purchased that were not redeemed when they executed the document, or they concealed
4
     the material fact that Defendants were no longer in possession of such tax liens/tax deeds
5
     or that what they had been holding onto were no longer worth anything of value when
6
     they executed the agreement. Furthermore, Plaintiffs are informed and believe and allege
7
     thereon that Defendants knew they were not going to delete the reference to one of the
8
     writings on its Google Plus and Twitter account when they executed the agreement or
9
     concealed the fact that references to the “The Truth About Jason Hartman” would still
10
     remain on the Google Plus and Twitter account even when they deleted the underlying
11
12   PDF because it was merely a link added to a photo of Plaintiff that they uploaded

13   separately. This is damaging because Defendants still have a defamatory report on Rip-
14   Off Report about Plaintiff.
15         52. Since, these were the only two material provisions to the Settlement
16   Agreement, the promises made by Defendants were illusory.
17         53. Lena Sells and/or Charles Sells made the representations on March 2, 2017
18   with the intent that Plaintiff rely on the representations to induce him to waive any and
19   all legal rights under the original contract and to their counterclaims and dismiss them.
20         54. In reliance on Defendants’ representations made on March 2, 2017, Plaintiffs
21
     agreed to reduce what was owed by approximately $130,000.00; signed the Settlement
22
     Agreement; waived their legal rights under the original contract plus their right to a jury
23
     trial; and dismissed their counterclaim for breach of contract after Plaintiff spent
24
     considerable time and resources on accumulating evidence to support the breach of
25
     contract claim and prosecute it to Plaintiffs’ damage. Mr. Hartman signed the Settlement
26
     Agreement instead of continuing to pursue his breach of contract claim.
27
           55. Plaintiffs believed that by waiving damages and obtaining removal of the
28
     defamation from the internet along with obtaining custody of the investment properties
                                               13
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1    and/or tax liens had resolved any problems Plaintiff had with Defendants before entering
2    into the Settlement Agreement.
3          56. Defendants PIP East, LLC, Lena Sells and Charles Sells obtained money,
4
     property or services through the misrepresentations and/or concealment of material facts
5
     made on March 2, 2017.
6
           57. Plaintiff’s reliance was reasonable because the representations were reduced to
7
     a writing and signed by Charles Sells and/or Lena Sells, officers of Defendant PIP East,
8
     LLC which was intentionally substituted into the Georgia action by said Defendants for
9
     PIP West, LLC who entered into the original contract with Plaintiffs.
10
           58. As a direct and proximate result, Plaintiff spent considerable time and money
11
12   trying to gather evidence to pursue a counterclaim in a remote court in Georgia in order

13   to recoup some of the losses Plaintiff faced by doing business with Defendants and
14   attempting to obtain some of the payments owed by Defendants; and Plaintiff also gave
15   up certain legal rights by signing the Settlement Agreement in addition to the loss of
16   $130,000.00 or the ten (10) properties secured with the tax liens he purchased.
17         59. Plaintiff’s reliance on Lena Sells, Charles Sells and PIP East, LLC’s oral and
18   written representations made on March 2, 2017 as laid out above was a substantial factor
19   in causing Plaintiff’s harm.
20         60.    The aforementioned conduct of PIP East, LLC was malicious and/or an
21
     intentional misrepresentation, deceit, or concealment of a material fact known to PIP
22
     East, LLC with the intention on the part of the PIP East, LLC, PIP West, LLC, Charles
23
     Sells, and Lena Sells of thereby depriving Plaintiff of property or legal rights or
24
     otherwise causing injury, and was despicable conduct that subjected Plaintiff to a cruel
25
     and unjust hardship in conscious disregard of Plaintiff’s rights, so as to justify an award
26
     of exemplary and punitive damages.
27
                                    THIRD CAUSE OF ACTION
28
                                         (False Promise)

                                               14
                                         COMPLAINT
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1      (Jason Hartman against Defendant PIP East, LLC, Lena Sells, Charles Sells and
2                                             Does 1-50)
           61. Plaintiff incorporates the allegations in paragraphs 1 through 60 above and the
3
     exemplary damages section below, as though they are fully set forth herein.
4
            62.      PIP East, LLC, Lena Sells and Charles Sells made a promise to Plaintiff to
5
6
     wit:

7                 a. On March 2, 2017 Defendants Lena Sells and/or Charles Sells on behalf of
8                    PIP East, LLC represented in writing they would (1) delete all references to
9                    internet postings it made about Plaintiff and (2) return all tax liens/tax deeds
10                   Plaintiff invested in that had not been redeemed back to Plaintiff. The
11                   written promises are attached as Exhibit 1.
12                b. On February 28, 2017 Defendants attorney on behalf of defendants
13                   represented in an email that if “he [Jason] wants to dismiss it [the lawsuit]
14                   without prejudice he could always decide to re-file at a later date.”
15
            63.      PIP East, LLC, Lena Sells and Charles Sells did not intend to perform the
16
     promise when Defendants made it on March 2, 2017 because the Defendants, and each of
17
     them, knew Lena Sells and Charles Sells did not have all of the tax liens and/or deeds to
18
     title back to Plaintiff and their reference to the defamatory file/link was separate. (See,
19
     Exhibit 5) For example, Defendants had taken title to one of the tax deeds and sold it to a
20
     third party. At the very least, the promise was illusory and without valuable
21
     consideration. Plaintiff also was barred from re-filing his claim at a later date.
22
23
            64.      PIP East, LLC intended that Plaintiff rely on this promise it placed in the

24   Settlement Agreement on March 2, 2017.
25          65.      Plaintiff reasonably relied on PIP East, LLC’s promise because the
26   Defendant put the promises in writing.
27          66.      As a result of Plaintiff’s reliance, Plaintiffs dismissed their counterclaim
28   against Defendants in Georgia state court and inserted “without prejudice” in the
     Agreement with the understanding it meant he was not later barred from re-filing.
                                              15
                                         COMPLAINT
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1          67.    PIP East, LLC, Charles Sells and Lena Sells did not perform the promised
2    acts or such performance was illusory; and as such failed to contain any “valuable
3    consideration.”
4
           68.    Plaintiff was harmed because Plaintiff lost approximately $130,000.00 to
5
     $350,000.00 in equity discounted in the Settlement Agreement that was owed under the
6
     original contract. Plaintiff also lost the time and his legal rights.
7
           69.    Plaintiff’s reliance on PIP East, LLC’s promises were a substantial factor in
8
     causing its harm.
9
           70.    The aforementioned conduct of PIP East, LLC was malicious and/or an
10
     intentional misrepresentation, deceit, or concealment of a material fact known to PIP
11
12   East, LLC with the intention on the part of the PIP East, LLC, Charles Sells, and Lena

13   Sells of thereby depriving Plaintiff of property or legal rights or otherwise causing
14   injury, and was despicable conduct that subjected Plaintiff to a cruel and unjust hardship
15   in conscious disregard of Plaintiff’s rights, so as to justify an award of exemplary and
16   punitive damages.
17                               FOURTH CAUSE OF ACTION
18                                           (Conversion)
       (Plaintiff Jason Hartman against Defendant PIP East, LLC, Lena Sells, Charles
19                                      Sells and Does 1-50)
20         71. Plaintiff incorporates the allegations in paragraphs 1 through 68 above and the
21   exemplary damages section below, as though they are fully set forth herein.
22         72.    Plaintiff is informed and believes and alleges thereon that Defendants PIP
23   West, LLC, PIP East, LLC dba the PIP Group, Lena Sells, Charles Sells and DOES 1
24   through 50 had possession and control of seventy-seven (77) tax liens and/or tax deeds
25   from 2006 through March 2, 2017.
26         73.    PIP East, LLC, PIP West, LLC, the PIP Group, Lena Sells, Charles Sells,
27
     and DOES 1 through 50 wrongfully exercised dominion and control over Plaintiff’s said
28


                                                16
                                          COMPLAINT
                                Jason Hartman v PIP East, LLC, et al.
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1    personal property and did not return the remaining sixty-seven (67) tax liens and/or title
2    until March 2, 2017; and never returned approximately ten (10) other liens.
3          74.    Plaintiff owned/possessed and/or had a right to possess the personal
4
     property that was converted from 2007 through March 2, 2017.
5
           75.    PIP East, LLC, PIP West, LLC, the PIP Group, Lena Sells and Charles
6
     Sells intentionally and substantially interfered with Plaintiff’s property by refusing to
7
     return the personal property (tax liens/title to properties) after Plaintiff demanded its
8
     return. Plaintiff is informed and believes and alleges thereon that Defendants sold at
9
     least one tax deed to a third party and Defendants kept all revenue made thereon.
10
           76.    Plaintiff did not consent.
11
12         77.    As a direct and proximate result of Lena Sells, Charles Sells, PIP West,

13   LLC and PIP East, LLC’s dba the PIP Group conduct and each of them, Plaintiff was
14   harmed because he was deprived of his personal property that PIP East, LLC, Charles
15   Sells, Lena Sells and DOES 1 through 50 were not entitled to for over a decade.
16         78.    PIP East, LLC dba PIP Group, PIP West, LLC, Lena Sells, Charles Sells
17   and DOES 1 through 50 were a substantial factor in causing Plaintiff’s harm.
18         79.    The aforementioned conduct of PIP East, LLC was malicious and/or an
19   intentional misrepresentation, deceit, or concealment of a material fact known to PIP
20   East, LLC with the intention on the part of the PIP East, LLC, Charles Sells, and Lena
21
     Sells of thereby depriving Plaintiff of property or legal rights or otherwise causing
22
     injury, and was despicable conduct that subjected Plaintiff to a cruel and unjust hardship
23
     in conscious disregard of Plaintiff’s rights, so as to justify an award of exemplary and
24
     punitive damages.
25
                               FIFTH CAUSE OF ACTION
26                              (Breach of Fiduciary Duty)
27   (Plaintiff Jason Hartman against Defendant Don Fullman, PIP East, LLC, Charles
                              Sells, Lena Sells and Does 1-50)
28


                                               17
                                         COMPLAINT
                               Jason Hartman v PIP East, LLC, et al.
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1          80. Plaintiff incorporates the allegations in paragraphs 1 through 79 above and the
2    exemplary damages section below, as though they are fully set forth herein.
3          81. Plaintiff is informed and believes and alleges thereon that Don Fullman,
4
     Charles Sells and Defendant PIP East, LLC as successor of interest by way of merger of
5
     PIP West, LLC owed Plaintiffs a fiduciary duty as Plaintiffs’ agent under the original
6
     contract dated September 5, 2006. (Exhibit 2)
7
           82. Alternatively, or additionally to paragraph 81 above, Defendants PIP East,
8
     LLC, Charles Sells and Lena Sells owed Plaintiff a fiduciary duty because one was
9
     created in the Settlement Agreement dated March 2, 2017 which is attached as Exhibit 1.
10
           83. Defendant Don Fullman gained Plaintiff’s trust and they met frequently at Don
11
12   Fullman’s office in Orange County concerning Plaintiff’s investments.

13         84. Defendants acted on Plaintiff’s behalf in researching, selecting, acquiring,
14   managing and recording the tax liens or title to the properties in the name of Plaintiff
15   who had invested approximately $169,560.24 with Defendants PIP West, LLC by
16   December 31, 2009. Defendants also acted on Plaintiffs’ behalf in deleting the promised
17   material from the internet and titling back the tax liens and/or property to Plaintiff.
18         85. PIP East, LLC breached its fiduciary duty because it failed to act in the same
19   manner as a reasonably careful agent and/or party would have acted under the same or
20   similar circumstances after entering into Settlement Agreement with one of its investors.
21
           86. Don Fullman, Charles Sells and Lena Sells breached their fiduciary duty
22
     because they failed to act in the same manner as a reasonably careful agent and/or party
23
     would have acted under the same or similar circumstances to the Settlement Agreement
24
     would have acted.
25
           87. Plaintiff is informed and believes and alleges thereon that Defendants Don
26
     Fullman, PIP East, LLC, Lena Sells, and Charles Sells breach included but was not
27
     limited to self-dealing (e.g. skimming off of the investments and revenue from the sale of
28
     the tax liens and foreclosures); failed to disclose accurate accountings to Plaintiff; and
                                               18
                                         COMPLAINT
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1    failed to title over properties or disclose it did not have the property to title over when it
2    executed the Settlement Agreement (breaching a duty of loyalty).
3          88. As a result, Plaintiff’s revenue stream was cut off. Defendants PIP East, LLC
4
     f/k/a PIP West, LLC and dba the PIP Group, Don Fullman, Lena Sells and Charles Sells’
5
     conduct was a substantial factor in causing that harm.
6
                                  SIXTH CAUSE OF ACTION
7               (Unfair Competition Violation of Cal Bus & Prof Code §17200)
8    (Plaintiff Jason Hartman against Defendant Don Fullman, PIP East, LLC, Charles
                                 Sells, Lena Sells and Does 1-50)
9
           89. Plaintiff incorporates the allegations in paragraphs 1 through 88 above and the
10
     exemplary damages section below, as though they are fully set forth herein.
11
           90.    California’s Unfair Competition Law (UCL) defines unfair competition to
12
     include any “unlawful, unfair, or fraudulent” business act or practice. California
13
     Business & Professions Code §17200, et seq.
14
           91.    By its terms, the statute is broad in scope. “It governs 'anti-competitive
15
     business practices' as well as injuries to consumers; and has as a major purpose “the
16
17
     preservation of fair business competition.” [Citations.]” (Cel-Tech Communications,

18   Inc. v. Los Angeles Cellular Telephone Co. (1999) 20 Cal.4th 163, 180.) “By defining

19   unfair competition to include any 'unlawful . . . business act or practice' [citation], the
20   UCL permits violations of other laws to be treated as unfair competition that is
21   independently actionable. [Citation.]” (Kasky v. Nike, Inc. (2002) 27 Cal.4th 939,
22   949.) In addition, under the UCL, “‘a practice may be deemed unfair even if not
23   specifically proscribed by some other law.' [Citation.]” (Korea Supply Co. v. Lockheed
24   Martin Corp. (2003) 29 Cal.4th 1134, 1143.) The remedies available under the UCL
25   are “cumulative . . . to the remedies or penalties available under all other laws of this
26   state.” (Business & Professions Code, § 17205.) Arce v Kaiser Foundations Health
27
     Plan, Inc. (2010)
28


                                                19
                                          COMPLAINT
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1          92.      Defendants have violated Cal Business & Professions Code §17200, et
2    seq., with the conduct as alleged above.
3          93.      Each Defendant knew or had reason to know of these facts, and as such are
4
     jointly and severally liable.
5
           94.      Beginning at an exact date unknown to Plaintiffs but at least in the past 4
6
     years, (in the case of Plaintiff since September 5, 2006) PIP East, LLC f/k/a PIP West,
7
     LLC also d/b/a PIP Group, Don Fullman, Charles Sells, Lena Sells and Does 1 through
8
     50 have committed acts of unfair competition, as defined by Business & Professions
9
     Code §17200, by engaging in the following practices:
10
                 a. Defendants PIP East, LLC f/k/a PIP West, LLC also d/b/a PIP Group, Don
11
12                  Fullman, Charles Sells, Lena Sells and Does 1 through 50 had a

13                  policy/practice of purchasing tax liens with prior history of sales in error in
14                  Illinois for its principal investors in violation of its fiduciary duty to
15                  research and select quality tax liens. The purchase/sale of the tax liens were
16                  made with the intent to defraud investors through a Ponzi scheme it created
17                  in violation of Cal Penal Code 532 (theft), 18 U.S.C. 1341, 18 U.S.C. 1343
18                  and consequently, constitutes an unlawful business act or practice within
19                  the meaning of Business & Professions Code §17200.
20                     i. According to Illinois law, a purchaser is reimbursed the price they
21
                           paid when there is a sale in error under Section 21-315 which states:
22
                           Sec. 21-315. Refund of costs; interest on refund.
23
                             (a) If a sale in error under Section 21-310, 22-35, or 22-50 is
24
                           declared, the amount refunded shall also include all costs paid
25
                           by the owner of the certificate of purchase or his or her assignor
26
                           which were posted to the tax judgment, sale, redemption and
27
                           forfeiture record.
28


                                                 20
                                           COMPLAINT
                                 Jason Hartman v PIP East, LLC, et al.
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1     b. Defendants PIP East, LLC f/k/a PIP West, LLC also d/b/a PIP Group, Don
2        Fullman, Charles Sells and Lena Sells had a policy/practice of titling tax
3        deeds in its name instead of the name of the principal investor in violation
4
         of Cal Penal Code Section 532 (theft) and 18 U.S.C. 1342 (frauds and
5
         swindles) and consequently, constitutes an unlawful business act or
6
         practice within the meaning of Business & Professions Code §17200.
7
      c. Defendants PIP East, LLC f/k/a PIP West, LLC also d/b/a PIP Group, Don
8
         Fullman, Charles Sells and Lena Sells had a policy/practice of employing
9
         Catherine Trogg to back date assignments of the tax liens Defendants
10
         purchased at auction to their investors when possession was demanded by
11
12       the investors of the same in order to cover up their misdeeds in violation of

13       Cal Penal Code Section 470, S Carolina Code of Laws Section 26 and
14       consequently, constitutes an unlawful business act or practice within the
15       meaning of Business & Professions Code §17200.
16    d. Defendants PIP East, LLC f/k/a PIP West, LLC also d/b/a PIP Group, Don
17       Fullman, Charles Sells and Lena Sells did not take the proper steps to
18       prevent the tax liens from expiring. Plaintiffs are informed and believe and
19       allege thereon that Defendants had a policy/practice of taking money from
20       investors to foreclose on tax liens with the goal of obtaining a tax deed, but
21
         then allowing the tax liens to expire on the principal investor in violation of
22
         18 U.S.C. 18 U.S.C. 1341 and 18 U.S.C. 1343 (mail and wire fraud,
23
         respectively) and consequently, constitutes an unlawful business act or
24
         practice within the meaning of Business & Professions Code §17200. (e.g.
25
         Plaintiffs are informed and believe that Defendants did not foreclose on tax
26
         lien No 2006-01646, APN 18-07-478-008 after Plaintiff paid and
27
         authorized foreclosure on June 9, 2010 so the tax lien expired even though
28
         the date to act was extended to November 11, 2010 and the redemption
                                      21
                                COMPLAINT
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1                 date was extended to August 4, 2012. As a result, the property was taken by
2                 tax deed No. 11-TX-215.)
3              e. Defendants PIP East, LLC f/k/a PIP West, LLC also d/b/a PIP Group, Don
4
                  Fullman, Charles Sells and Lena Sells were selling tax liens on the same
5
                  property before the redemption period expired to multiple principal
6
                  investors as shown on some of the tax assessor summaries of the ten (10)
7
                  properties Plaintiff paid Defendants to foreclose upon on June 28, 2010.
8
                  This policy and practice violated 18 U.S.C. 1341 and 18 U.S.C. 1343 and
9
                  consequently, constitutes an unlawful business act or practice within the
10
                  meaning of Business & Professions Code §17200.
11
12         95. Plaintiff is informed and believes and alleges thereon that either Defendant has

13   property and money (tax deeds, tax liens and payments) it has taken from the investors
14   wrongfully and withheld from them, specifically as to Plaintiffs those owed as part of the
15   Settlement Agreement; or as a result of Defendants’ unlawful, unfair and/or fraudulent
16   business practices, there were no tax liens or tax deeds of value to title back to Plaintiff
17   on March 2, 2017 when Defendants entered into the Settlement Agreement with Plaintiff.
18   By entering into the Settlement Agreement containing such illusory promises was an
19   unlawful, unfair and/or fraudulent business practice.
20         96. The harm to Plaintiff and to members of the general public outweighs the
21
     utility of defendant’s policy/practice, and consequently, defendant PIP East, LLC f/k/a
22
     PIP West, LLC also d/b/a PIP Group, Don Fullman, Charles Sells, Lena Sells and Does 1
23
     through 50 practices constituting the Ponzi scheme laid out above which resulted in an
24
     illusory Settlement Agreement wherein Plaintiffs waived their legal rights through this
25
     confidence scheme against real estate investors constitutes an unfair business act or
26
     practice within the meaning of Business & Professions Code §17200.
27
           97. Defendant PIP East, LLC f/k/a PIP West, LLC also d/b/a PIP Group, Don
28
     Fullman, Charles Sells, Lena Sells, and Does 1 through 50 policy/practice are also likely
                                               22
                                         COMPLAINT
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1    to mislead the general public, and consequently, constitutes a fraudulent business act or
2    practice within the meaning of Business & Professions Code §17200.
3          98.    The unlawful, unfair, and fraudulent business practices as described above,
4
     present a continuing threat to members of the investing public warranting an injunction,
5
     freezing of assets and accounting, as well as restitution.
6
           99.    As a result of the aforementioned acts, Plaintiff and Class members lost
7
     money or property and suffered injury in fact.
8
           100. Finally, stopping this practice furthers the public interest. Plaintiff is
9
     therefore entitled to reasonable attorney's fees under section 1021.5 of the California
10
     Code of Civil Procedure.
11
12         Wherefore Plaintiff demands judgment against defendants as set forth below.

13                             SEVENTH CAUSE OF ACTION
                                   FAL Violation of §17500
14   (Plaintiff Jason Hartman against Defendants PIP East, LLC, Don Fullman, Charles
15                              Sells, Lena Sells and Does 1-50)
           101. Plaintiff incorporates in this cause of action the allegations in paragraphs 1
16
17
     through 100 as though set forth in full herein.

18         102. California’s Bus & Prof Code §17500 statute provides: “It is unlawful for

19   any person, firm, corporation or association, or any employee thereof with intent
20   directly or indirectly to dispose of real or personal property or to perform services,
21   professional or otherwise, or anything of any nature whatsoever or to induce the public
22   to enter into any obligation relating thereto, to make or disseminate or cause to be made
23   or disseminated before the public in this state, or to make or disseminate or cause to be
24   made or disseminated from this state before the public in any state, in any newspaper or
25   other publication, or any advertising device, or by public outcry or proclamation, or in
26   any other manner or means whatever, including over the Internet, any statement,
27
     concerning that real or personal property or those services, professional or otherwise, or
28
     concerning any circumstance or matter of fact connected with the proposed performance

                                                23
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1    or disposition thereof, which is untrue or misleading, and which is known, or which by
2    the exercise of reasonable care should be known, to be untrue or misleading, or for any
3    person, firm, or corporation to so make or disseminate or cause to be so made or
4
     disseminated any such statement as part of a plan or scheme with the intent not to sell
5
     that personal property or those services, professional or otherwise, so advertised at the
6
     price stated therein, or as so advertised. Any violation of the provisions of this section is
7
     a misdemeanor punishable by imprisonment in the county jail not exceeding six months,
8
     or by a fine not exceeding two thousand five hundred dollars ($2,500), or by both that
9
     imprisonment and fine.” Id.
10
           103.       Beginning at an exact date unknown to Plaintiffs but at least since
11
12   September 5, 2006, Defendants Defendant PIP East, LLC d/b/a PIP Group and f/k/a PIP

13   West, LLC, Charles Sells, Lena Sells, and Does 1 through 50 have committed acts of
14   untrue and misleading advertising, as defined by Bus & Prof Code §17500, by engaging
15   in the following acts and practices, in that said defendants represented they would
16   immediately title the tax lien investments in the principal investor’s name, giving the
17   investor “full control”; that they would “research” and “investigate” the properties and
18   only acquire quality tax liens. They also represented that they were tax lien “experts”
19   making extensive representations in their promotional material and website. The
20   quarterly reports made it appear that the investor’s investments were more lucrative than
21
     they actually were and that liens were “active” when they were not being protected. (See,
22
     Exhibits 1-5).
23
           104.       The representations in the agreement, promotional material, website and
24
     quarterly reports were advertisements as that term is defined by Bus & Prof Code
25
     §17500.
26
           105.       The acts of untrue and misleading advertising by Defendants described
27
     in this complaint present a continuing threat to members of the public in that it gives the
28
     false perception to the public that the Defendants are experts that will act as agent for the
                                               24
                                         COMPLAINT
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1    investor, will research the properties and only acquire quality tax liens for the investor’s
2    benefit.
3          106.        Plaintiff invested in approximately 207 tax liens for the Defendants to
4
     manage and lost his investment because the title to the tax liens and/or tax deeds were
5
     mismanaged and not titled back over to him pursuant to the terms of the Settlement
6
     Agreement entered into on March 2, 2017.
7
           107.        As a result, Plaintiff and those similarly situated are entitled to
8
     restitution pursuant to Cal Bus & Prof Code §17535 as necessary “to restore to any
9
     person in interest any money or property, real or personal, which may have been
10
     acquired by means of any practice in this chapter declared to be unlawful.”
11
12         108.        As a further result, Plaintiff and those similarly situated are entitled to

13   $2,500.00 for each violation, costs and attorney fees, and injunctive relief as deemed just.
14         109.        Finally, stopping this practice furthers the public interest. Plaintiff is
15   therefore entitled to reasonable attorney's fees under section 1021.5 of the California
16   Code of Civil Procedure.
17                             EIGHTH CAUSE OF ACTION
18                                            (RICO)
     (Plaintiff Jason Hartman against Defendant PIP East, LLC, Don Fullman, Charles
19                              Sells, Lena Sells and Does 1-50)
20         110. Plaintiffs incorporate in this cause of action all of the allegations in
21   paragraphs 1 through 109 as though set forth in full herein.
22                                          CONSPIRACY
23         111. Defendants PIP East, LLC, Don Fullman, Charles Sells, Lena Sells and
24   Does 1-50 have not undertaken the practices and activities described in this complaint in
25   isolation.
26         112. Defendants have done so as part of a common scheme and conspiracy,
27
     which includes not only the Defendants, but other real estate professionals and persons
28
     hired to attend the auctions to bid on the tax liens, as well.

                                                25
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1          113. All of the practices described herein are the competent part of Defendants’
2    larger scheme designed to maximize Defendants’ profits, both from the management
3    agreement itself and from the investor stacking due to the unique nature of tax lien
4
     investments.
5
           114. Each Defendant and all members of the conspiracy, with knowledge and
6
     intent agreed to the overall objective of the conspiracy, agreed to commit acts of fraud
7
     to wrongfully obtain property and/or money from Plaintiffs and others similarly
8
     situated, and actually committed such acts.
9
           115. Indeed, for the fraudulent scheme described above to be successful, each
10
     Defendant and other members of the conspiracy had to agree to enact and utilize the
11
12   same devices and fraudulent tactics against Plaintiffs and those similarly situated.

13         116. Numerous common facts and similar activities, which reflect the above
14   reality and imply the existence of a conspiracy, exist among all of the Defendants and
15   other members of the conspiracy, including: (a) tax liens being purchased and sold to
16   other investors during the redemption period of an existing tax lien held by another
17   principal investor on the same property; (b) taking funds from the investors for
18   foreclosures while the tax lien is not perfected into a tax deed but instead expires or is
19   redeemed; (c) taking a tax deed in the name of the Defendant instead of the investor and
20   then flipping the property and keeping the proceeds; (d) failing to account for all tax
21
     liens or redemption to the investor; (e) purchasing tax liens on properties where a
22
     history sales in error had been recorded (lack of due diligence or research in acquiring
23
     quality investments and/or failing to file the proper paperwork in order to obtain a
24
     refund on the tax paid in error for the investor); (f) disappearing and not communicating
25
     with investors during the time to foreclose on the property in order to convert the tax
26
     lien into a tax deed; (g) Plaintiff is informed and believes and alleges thereon that
27
     Defendant was hiring people to attend the tax lien auctions to coordinate bidding where
28
     the same properties are bid on over and over again and then assigned to different
                                               26
                                         COMPLAINT
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1    investors; (h) backdating assignments; and (h) creating purposefully confusing investor
2    reports and programs for the tax liens.
3          117.    The acts and events were concealed by Defendant’s deceit and fraud where
4
     with Plaintiff’s due diligence could not bring these claims until now, the conspiracy was
5
     conducted through, and implemented by, Defendants and other real estate professionals
6
     authorized to maintain and resell the tax liens and tax deeds.
7
                                    RICO ALLEGATIONS
8                                     The PIP Enterprise
9          118. Plaintiffs, incorporates in this cause of action all of the allegations in
10   paragraphs 1 through 117 as though set forth in full herein.
11         119. Defendants are all “persons” within the meaning of 18 U.S.C. §1961(3).
12         120. Based upon Plaintiffs’ current knowledge, the following persons constitute
13   a group of individuals associated in fact that will be referred to herein as the “PIP
14   Enterprise:” (1) PIP East, LLC d/b/a the PIP Group f/k/a PIP West, LLC until it merged
15
     on January 1, 2016, (2) Charles and Lena Sells, (3) Don Fullman and (4) Does 1
16
     through 50.
17
           121. The PIP Enterprise is an ongoing organization that engages in, and whose
18
     activities affect, interstate commerce by soliciting others to invest in tax liens on real
19
     property throughout the United States. PIP West, LLC and PIP East, LLC were never
20
     registered to do business in California although they operated out of Orange County,
21
     California.
22
23
           122. While all Defendants participate in and are members and part of the PIP

24   Enterprise, they also have an existence separate and distinct from the enterprise.
25         123. To successfully steer as many investors as possible into the PIP tax lien
26   investment program, Defendants need a system that allows them to effectively sell an
27   interest in the same property to many investors because there is only a finite number of
28   tax liens without the investor knowing.


                                               27
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1          124. The PIP Enterprise provides defendants with that system and ability, and
2    their control of and participation in it is necessary for the successful operation of their
3    scheme.
4
           125. Furthermore, the participation by the people who would control the bidding
5
     at the tax lien auctions and whether a tax lien would expire while others managed the
6
     reporting to the investors on redemption allowed the enterprise to function more
7
     effectively.
8
           126. The Defendants control and operate the PIP Enterprise by hiring a group of
9
     people to attend the auctions, another group to keep track of redemption and another to
10
     foreclose or keep track of which properties needed to expire.
11
12         127. This created a pattern of “investor stacking” where the same tax liens were

13   purchased every year at auction on the same property instead of creating a program
14   where the tax investor paid the property taxes during the redemption period. So, the new
15   tax could be sold to a different investor increasing Defendant PIP Group’s management
16   fees on the same property (although the redemption period had not expired for the prior
17   investor). Plaintiffs are informed and believe after the investors were stacked, PIP would
18   allow the tax lien to expire. There is evidence that when a tax lien was not stacked, PIP
19   would foreclose and obtain the tax deed in PIP’s name instead of the investor; yet
20   continue to charge the investor. The investors received some quarterly reports stating
21
     liens were “active” and some tax liens leaving the investor with the impression they held
22
     an interest which was being managed by PIP for their benefit. PIP confused matters
23
     further by their communications and half-hearted explanations of the tax lien process
24
     which were couched in a way to confuse the investor.
25
           128.     The PIP Enterprise has an ascertainable structure separate and apart from
26
     the pattern of racketeering activity in which the Defendants engage.
27
                                           PREDICATE ACTS
28


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1          129. Section 1961(1) of RICO provides that “racketeering activity” includes any
2    act indictable under 18 U.S.C. §1341 (relating to mail fraud) and 18 U.S.C. § 1343
3    (relating to wire fraud). As set forth herein, Defendants have engaged, and continue to
4
     engage in conduct violating each of these laws to effectuate their scheme.
5
           130. Additionally, in order to make their scheme effective, each of the
6
     Defendants sought to and did aid and abet others in violating the above laws within the
7
     meaning of 18 U.S.C. §2. As a result, their conduct is indictable under 18 U.S.C. §1341
8
     and 18 U.S.C. §1343, on this additional basis.
9
                       VIOLATIONS OF 18 U.S.C. §1341 and 18 U.S.C. §1343
10
           131. "There are two elements in mail fraud: (1) having devised or intending to
11
12   devise a scheme to defraud (or to perform specified fraudulent acts), and (2) use of the

13   mail for the purpose of executing, or attempting to execute, the scheme (or specified
14   fraudulent acts)." Schmuck v. United States, 489 U.S. 705, 721 n. 10 (1989); see also
15   Pereira v. United States, 347 U.S. 1, 8 (1954) ("The elements of the offense of mail
16   fraud under . . . § 1341 are (1) a scheme to defraud, and (2) the mailing of a letter, etc.,
17   for the purpose of executing the scheme."); Laura A. Eilers & Harvey B. Silikovitz,
18   Mail and Wire Fraud, 31 Am. Crim. L. Rev. 703, 704 (1994) (cases cited).
19         132. For the purposes of executing and/or attempting to execute the above
20   described scheme to defraud or obtain money by means of false promises,
21
     representations or promises, the Defendants, in violation of 18 U.S.C. § 1341, placed in
22
     post offices and/or in authorized repositories matter and findings to be sent or delivered
23
     by the Postal Service, caused matter and things to be delivered by commercial interstate
24
     carriers, and received matter and things from the Postal Service or commercial interstate
25
     carriers, including but not limited to authorizations to foreclose, promotional items,
26
     invoices, letters, and quarterly reports.
27
           133. For the purpose of executing and/or attempting to execute the above
28
     described scheme to defraud or obtain money by means of false pretenses,
                                                29
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1    representations or promises, the Defendants, in violation of 18 U.S.C. § 1343,
2    transmitted and received by wire, matter and things, including but not limited to
3    promotional materials, applications, authorizations to foreclose, agreements, manuals
4
     and correspondence, and made or caused to be made false statements over the
5
     telephone, electronic mail, and internet.
6
           134. The matter and things sent by Defendant, through their authorized agent,
7
     via the Postal Service, commercial carrier, wire or other interstate electronic media
8
     included, inter alia, authorizations to foreclose, promotional items, invoices, letters, and
9
     quarterly reports. Defendants also sent Plaintiff’s representative approximately sixty-
10
     seven (67) tax liens it backdated on or about April 13, 2017 overnight delivery.
11
12         135.    Other matter and things sent through or received via the Postal Service,

13   commercial carrier, wire, or other interstate electronic media by Defendants included
14   information or communication in furtherance of or necessary to effectuate the scheme
15   including the request for money which was sent by the investors to the Defendants.
16         136. Defendants’ misrepresentations, acts of concealment and failures to
17   disclose were knowing and intentional, and made for the purpose of deceiving Plaintiffs
18   and obtaining their money and/or property for Defendants’ gain.
19         137. Defendants either knew or recklessly disregarded the fact that the
20   misrepresentation and omission described above were material, and Plaintiffs relied
21
     upon the misrepresentations and omissions as set forth above.
22
           138. As a result, Defendants have obtained money and property belonging to the
23
     Plaintiffs, and Plaintiffs have been injured in their business or property by the
24
     Defendants’ overt acts of mail and wire fraud, and by their aiding and abetting each
25
     other’s acts of mail and wire fraud.
26
27
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1                           PATTERN OF RACKETEERING ACTIVITY
2          139.   The Defendants have engaged in a “pattern of racketeering activity,” as
3    defined by U.S.C. §1961(5), by committing or aiding and abetting in the commission of
4
     at least two acts of racketeering activity, i.e., indictable violations of 18 U.S.C. §§ 1341
5
     and 1343 as described above, discovered within the past four years after being
6
     concealed by misrepresentations over the status of the tax lien investments from
7
     Defendants which prevented the Plaintiff’s discovery of the claim within the limitations
8
     period and due diligence in pursuing discovery of the claim..
9
           140.   In fact, each of the Defendants have committed or aided and abetted in the
10
     commission of multiple acts of racketeering activity. Each act of racketeering activity
11
12   was related, had a similar purpose, involved the same or similar participants and method

13   of commission, had similar results and impacted similar victims, including Plaintiffs.
14         141.   The multiple acts of racketeering activity that Defendants committed and/or
15   conspired to commit, or aided and abetted in the commission of, were related to each
16   other, and amount to and pose a threat of continued racketeering activity, and therefore
17   constitute a “pattern of racketeering activity” as defined in 18 U.S.C. §1961(5).
18                                         RICO VIOLATIONS
19         142. Section 1962(c) of RICO provides that it “shall be unlawful for any person
20   employed by or associated with any enterprise engaged in, or the activities of which
21
     affect, interstate or foreign commerce, to conduct or participate, directly or indirectly, in
22
     the conduct of such enterprise’s affairs through a pattern of racketeering activity…”
23
           143. Through the patterns of racketeering activities outlined above, the
24
     Defendants have also conducted and participated in the affairs of the PIP Enterprise.
25
           144. Section 1962(d) of RICO makes it unlawful “for any person to conspire to
26
     violate any of the provisions of subsection (a), (b) or (c), of this section.
27
28


                                                31
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1          145. Defendants’ conspiracy to secure property and/or money from Plaintiffs
2    and other investors for their own use through the fraudulent scheme described above
3    violates 18 U.S.C. §1962(d).
4
           146. Each of the Defendants agreed to participate, directly or indirectly, in the
5
     conduct of the affairs of the PIP Enterprise through a pattern of racketeering activity
6
     comprised of numerous acts of mail fraud and wire fraud, and each Defendant so
7
     participated in violation of 18 U.S.C. §1962(c).
8
           147. Defendants used a scheme to defraud by means of false pretenses as
9
     particularly described in the fraud and 17200 causes of action above.
10
           148. Defendant’s actions entitle Plaintiff to actual damages, treble damages,
11
12   attorney’s fees and costs.

13                                          COUNT 1
                         VIOLATION OF RICO 18 U.S.C. §1962(c)
14         149. Plaintiffs, incorporates in this cause of action all of the allegations in
15
     paragraphs 1 through 148 as though set forth in full herein.
16
           150. As set forth above, Defendants have violated 18 U.S.C. §1962(c) by
17
     conducting or participating directly or indirectly in the conduct of the affairs of the PIP
18
     Enterprise through a pattern of racketeering.
19
           151. As a direct and proximate result, Plaintiffs have been injured in their
20
     business or property by the predicate acts which make up the Defendants’ patterns of
21
     racketeering activity. Plaintiff had purchased approximately 207 tax lien investments
22
23
     from Defendants.

24         152. The foreclosure authorization agreements, checks, quarterly reports, letters,
25   invoices and website informational/promotional materials were emailed, mailed through
26   the US Mail, placed on PIP’s website or faxed to the investor. The matter contained
27   untrue statements about the type, quality or status of the investments and their value.
28         153. Defendant’s actions entitle Plaintiffs to actual damages, treble damages,
     attorney’s fees and costs under 18 U.S.C. 1964.
                                                32
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1                                            COUNT II
2                          VIOLATION OF RICO 18 U.S.C. §1962(D)
3                       CONSPIRING TO VIOLATE 17 U.S.C. §1962 (C)
4
           154. Plaintiffs, incorporates in this cause of action all of the allegations in
5
     paragraphs 1 through 153 as though set forth in full herein.
6
           155. Plaintiff brings this claim on her own behalf and on behalf of each member
7
     of the Class described above.
8
           156. As set forth above, in violation of 18 U.S.C. §1962(d), Defendants have, as
9
     set forth above, conspired to violate 18 U.S.C. §1962(c) by conducting, or participating
10
     directly or indirectly in the conduct of, the affairs of the PIP Enterprise through a pattern
11
12   of racketeering.

13         157. As a direct and proximate result, Plaintiffs and Class members have been
14   injured in their business or property by the predicate acts which make up the
15   Defendants’ patterns of racketeering activity.
16         158. The agreements, authorizations to foreclose, checks, promotional matter,
17   quarterly reports, tax liens and letter were emailed, mailed through the US Mail or faxed
18   to the Plaintiff tax lien investor. These materials contained untrue statements about PIP
19   Group’s management as agent, the quality of the tax lien investment and their value.
20         159. Defendant’s actions entitle Plaintiffs to actual damages, treble damages,
21
     attorney’s fees and costs under 18 U.S.C. 1964.
22
                                       EXEMPLARY DAMAGES
23
           160. Don Fullman, Lena Sells, Charles Sells, and Does 1 through 50 conduct is
24
     so vile, base, or contemptible that it would be looked down on and despised by
25
     reasonable people.
26
           161. Don Fullman, Lena Sells and Charles Sells had been intentionally stacking
27
     investors on the same properties during the redemption periods and then allowing the
28


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1    nonperforming tax liens to expire as way of doing business while they pulled incoming
2    revenue out of the business accounts and used it to support their lavish lifestyle.
3          162. Don Fullman, Lena Sells and Charles Sells, and Does 1 through 50
4
     intentionally misrepresented or concealed a material fact as specifically alleged
5
     throughout this complaint.
6
           163. An employee is a "managing agent" if he or she exercises substantial
7
     independent authority and judgment in his or her corporate decision making such that
8
     his or her decisions ultimately determine corporate policy. Lena Sells and Charles
9
     Sells, and Does 1 through 50 were managing agents of PIP East, LLC.
10
           164. The malice, oppression, or fraud was conduct of one or more officers,
11
12   directors, or managing agents of PIP East, LLC, who acted on behalf of PIP East, LLC,

13   Charles Sells and Lena Sells were aware of the laws in Illinois and that a flag of sale in
14   error meant that the property was not one in which the county could collect tax on if
15   challenged, yet Defendants purchased and sold tax liens on these properties instead of
16   doing the research promised in the contract as part of their management fee.
17         165. Alternatively, the conduct constituting malice, oppression, or fraud was
18   authorized by one or more officers, directors, or managing agents of PIP East, LLC.
19         166. Alternatively, one or more officers, directors, or managing agents of PIP
20   East, LLC knew of the conduct constituting malice, oppression, or fraud and adopted or
21
     approved that conduct after it occurred. They adopted each and every act, including
22
     sending the updates and emails to Plaintiff that were not true of the company’s financial
23
     position.
24
           167. The aforementioned conduct of PIP East, LLC was malicious and/or an
25
     intentional misrepresentation, deceit, or concealment of a material fact known to PIP
26
     East, LLC with the intention on the part of the PIP East, LLC, Charles Sells, and Lena
27
     Sells of thereby depriving Plaintiff of property or legal rights or otherwise causing
28
     injury, and was despicable conduct that subjected Plaintiff to a cruel and unjust hardship
                                               34
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1    in conscious disregard of Plaintiff’s rights, so as to justify an award of exemplary and
2    punitive damages.
3                                    PRAYER FOR RELIEF
4
           WHEREFORE, Plaintiffs pray for judgment against Defendants, and each of
5
           them, as follows:
6
           First Cause of Action for Breach of Contract
7
              1. For Specific performance and consequential damages;
8
              2. Interest;
9
              3. Costs;
10
              4. Attorney fees;
11
12            5. Any further relief the court would deem appropriate and just.

13         Second and Third Causes of Action for Fraud, False Promise & Deceit
14            1. For specific performance and actual damages;
15            2. General damages;
16            3. Costs;
17            4. Attorney fees;
18            5. Punitive damages;
19            6. Any further relief the court would deem appropriate and just.
20         Fourth Cause of Action for Conversion
21
              1. For actual damages;
22
              2. For general damages;
23
              3. Costs;
24
              4. Punitive Damages; and
25
              5. Any further relief the court would deem appropriate and just.
26
           Fifth Cause of Action for Breach of Fiduciary Duty
27
              1. For actual damages;
28
              2. For general damages;
                                               35
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1       3. Restitution relief;
2       4. Prejudgment Interest;
3       5. Costs;
4
        6. Punitive Damages; and
5
        7. Any further relief the court would deem appropriate and just.
6
     Sixth Cause of Action for Violation of 17200
7
        1. For Defendants’ assets to be frozen, a preliminary and permanent
8
        injunction;
9
        2. Restitution;
10
        3. Attorney fees under 1021.5
11
12      4. Any further relief the court would deem appropriate and just.

13   Seventh Cause of Action for Violation of 17500
14      1. For a preliminary and permanent injunction;
15      2. Restitution;
16      3. Attorney fees under 1021.5
17      4. Any further relief the court would deem appropriate and just.
18   Eighth Cause of Action for RICO
19      1. For actual damages;
20      2. Costs;
21
        3. Attorney Fees;
22
        4. Treble Damages;
23
        5. Any further relief the court would deem appropriate and just.
24
25
26
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1                                DEMAND FOR JURY TRIAL
2          Plaintiff hereby demands a jury trial as to those issues that are not equitable in
3    nature.
4
5    Dated: February 20, 2018        Respectfully Submitted,
                                     LAW OFFICES OF LENORE ALBERT
6                                    /s/ Lenore Albert______________________
7                                    LENORE L. ALBERT, ESQ.
                                     Attorney for Plaintiff, Jason Hartman
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